 Case 18-14164-KHK          Doc 15-2 Filed 03/07/19 Entered 03/07/19 10:24:25               Desc
                            Exhibit(s) SCRA Affidavit Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

In re:

ALAN B. STONE,                                                       Case No. 18-14164-KHK

         Debtor.                                                     Chapter No. 7

BRANCH BANKING & TRUST COMPANY,

         Plaintiff,

v.

ALAN B. STONE
and KEVIN R. McCARTHY, Trustee,

         Defendants.


                      AFFIDAVIT SERVICEMEMBERS CIVIL RELIEF ACT

         I, Deborah S. Kirkpatrick, the Affiant herein, do hereby depose and say under oath that:

         1.     I am counsel for the Plaintiff in the above captioned matter and have personal

knowledge of the facts set forth in this Affidavit.

         2.     On December 13, 2018, the Debtor filed the instant petition.

         3.     A Department of Defense Manpower Data search was conducted on the Debtor to

determine if he is in the military service. A Copy of the search is attached hereto.

         4.     To the best of Affiant’s knowledge, information and belief, the Debtor is not in

the military service, as required by 50 U.S.C. app. §521, nor is he an infant or incompetent.
 Case 18-14164-KHK         Doc 15-2 Filed 03/07/19 Entered 03/07/19 10:24:25                 Desc
                           Exhibit(s) SCRA Affidavit Page 2 of 2



      Under penalty of perjury, I declare the information in this Affidavit is true to the best of
my knowledge.



                                                      /s/ Deborah S. Kirkpatrick
                                                          Deborah Kirkpatrick
Deborah Kirkpatrick, Esq.
VSB# 32987
Deborah Kirkpatrick, P.C.
P.O. Box 10275
Virginia Beach, VA 23450
Ph: (757) 233-0281
Email: debbie@kirkpatrickpc.com




COMMONWEALTH OF VIRGINIA
CITY OF VIRGINIA BEACH

      The foregoing Affidavit was sworn to and acknowledged before this date, March 6, 2019
by Deborah S. Kirkpatrick, Esquire, counsel for Branch Banking & Trust Company.


                                                      /s/ Kim L.C. Howard
                                                      Notary Public
                                                      Commonwealth of Virginia
                                                      Reg. #319965
                                                      My Commission Expires: 6/30/2020




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